                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 L.W. et al.,                                    )
 by and through her parents and next             )
 friends, Samantha Williams and Brian            )
 Williams                                        )               NO. 3:23-cv-00376
                                                 )            JUDGE RICHARDSON
      Plaintiffs,                                )
                                                 )
 v.                                              )
                                                 )
 JONATHAN SKRMETTI et al.,                       )

      Defendants.

                                             ORDER

        Pending before the Court is Plaintiffs’ motion to strike the declaration filed at Doc. No.

145 and to re-file the declaration under seal. (Doc. No. 154, “Motion”). On June 7, 2023, Plaintiffs

filed a notice withdrawing their Motion. (Doc. No. 163). The Motion at Doc. No. 154 is therefore

DENIED without prejudice.

        IT IS SO ORDERED.

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                                                     ELI RICHARDSON
                                                     UNITED STATES DISTRICT JUDGE




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